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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

CITlZENS FOR RESPONSIBIL|TY
AND ETHlCS IN WASHINGTON,
455 Massachusetts Ave., N.W.
Washington, D.C. 20001

Plaintiff,

v. Civil Action No.

NATIONAL SECURlTY AGENCY
9800 Savage Road

Suite 69321

Fort Meade, MD 20755

and

CENTRAL INTELLIGENCE AGENCY
Washington, D.C. 20505

Defendants.

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COMPLAINT FOR INJUNCTIVE AND DECLARATORY RELIEF

l. This is an action under the Freedom ofInformation Act (“FOIA“), 5 U.S.C. § 552,
and the Declaratory .ludgment Act, 28 U.S.C. §§ 2201 and 2202, for injunctive, declaratory and
other appropriate reliet`. Plaintit`f Citizens for Responsibility and Ethics in Washington
(“CREW") challenges the refusal of the National Security Agency (“NSA”), a component of the
U.S. Department of Det`ense (“DOD"), and the failure of the Central lntelligence Agency
(“CIA”), to disclose to CREW pursuant to the FOIA records relating to the meeting President
Donald Trump had with Russian Foreign Minister Sergei Lavrov and Russian Ambassador
Sergey Kislyak on May 10, 2017.

2. This action seeks a declaratory judgment that NSA is in violation of FOlA, 5 U.S.C.

§§ 552(a)(8), and (b)(l) and (b)(3), by refusing to provide CREW with all responsive documents

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it sought under FOIA when it improperly claimed it could neither confirm nor deny the existence
of responsive records, a “G¢'omar“ response CREW further seeks a declaratory judgment that the
CIA is in violation of FOIA, 5 U.S.C. §§ 552(a)(6)(A)(i), and (a)(S), by refusing to respond to
CREW’s FOIA request and refusing to search for and provide CREW With all responsive
documents sought. Further, this action seeks injunctive relief ordering the Defendants to process
and release to CREW the requested records in their entirety.

Jurisdiction and Venue

3. This court has jurisdiction over this action pursuant to 5 U.S.C. § 552(a)(4)(B). The
Court also has jurisdiction over this action pursuant to 28 U.S.C. §§ 1331, 2201(a), and 2202.
Venue lies in this district under 5 U.S.C. § 552(a)(4)(B).

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4. Plaintiff CREW is a non-profit, non-partisan organization organized under Section
50](c)(3) of the Internal Revenue Code. CREW is committed to protecting the rights of citizens
to be informed about the activities of government officials and agencies, and to ensuring the
integrity of government officials and agencies CREW seeks to empower citizens to have an
influential voice in government decisions and in the government decision-making process
through the dissemination of information about public officials and their actions, To advance its
mission, CREW uses a combination of research, litigation, and advocacy. As part of its research,
CREW uses government records made available to it under FOIA.

5. Defendants NSA and CIA are agencies within the meaning of 5 U.S.C. § 552(t) and 5
U.S.C. § 701. The NSA is a component within DOD. NSA and CIA are the federal agencies With
possession and control of the requested records and are responsible for fulfilling Plaintiff`s FOIA

requests

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6. On May 10, 2017, President Trump met with Russian Foreign Minister Sergei Lavrov
and Russian Ambassador Sergey Kislyak in the Oval Office.

7. During this meeting, President Trump shared what until then _was highly classified
information with Mr. Lavrov and Mr. Kislyak regarding common threats that both Russia and the
United States face from terrorist organizations

8. On May 15, 2017, the President’s National Security Advisor, H.R. Mcl\/Iaster, who
was present at the Oval Office meeting, confirmed many significant details that the press
reported about the meeting. He specifically said that the President and Foreign Minister
discussed threats to civil aviation.

9. On May 16, 2017, President Trump tweeted, "As President, 1 wanted to share with
Russia (at an openly scheduled W.H. meeting) which I have the absolute right to do, facts
pertaining . .to terrorism and airline flight safety. Humanitarian reasons, plus I want Russia to
greatly step up their fight against ISIS & terrorism."

NSA FOIA Request
10. By letter dated May 16, 2017, delivered by facsimile, CREW requested from NSA
under the FOIA the following:
a. Records documenting and.»'or confirming a call or calls between Thornas P.
Bossert, assistant to the president for homeland security and counterterrorism, and
NSA Director Michael S. Rogers and.-"or any other NSA official concerning the
meeting President Donald Trump had with Russian Foreign Minister Sergei

Lavrov and Russian Ambassador Sergey Kislyak on May 10, 2017;

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b. Documents relating to and reflecting the information President Trump shared with
Mr. Lavrov and Mr. Kislyak during their May 10, 2017 meeting, including, but
not limited to, common threats that both Russia and the United States face from
terrorist organizations; and

c. Transcripts or other recordings of President Trump’s May 10, 2017 meeting with
Mr. Lavrov and Mr. Kislyak.

1 l. CREW’s May 16, 2017 letter to NSA also requested expedited processing of its
FOIA request. As CREW explained, given the turmoil that President’s Trump’s disclosure of
highly sensitive information to Russia caused, the urgency to restore the public’s faith and
confidence in our national security apparatus could not be greater. Further, the value of this
information will be lost if not disseminated quickly.

12. By letter dated August 30, 2017, NSA responded to CREW’s request and assigned it
Number 101635A. NSA stated that it was unable to confirm or deny the existence of the
documents requested, citing Exemption 1 of the FOIA (5 U.S.C. § 552(b)(l)), as authorized by
Executive Order 13526. This is commonly known as a Glomar response. NSA further invoked
Exemption 3 of the FOIA (5, U.S.C. § 552(b)(3)), which exempts fi'om disclosure information
specifically exempted from disclosure by other statutes. Specifically, as to Exemption 3, NSA
cited 18 U.S.C. § 798; 50 U.S.C. § 3024(i); and Section 6, Public Law 86-36 (50 U.S.C. § 3605}.

13. By letter November 27, 2017, delivered by e-mail and facsimile, CREW filed a
timely administrative appeal with the NSA. CREW explained how NSA’s original decision
reiiising to confirm or deny the existence of records was erroneous because, inter alia, both
President Trump and National Security Advisor McMaster had already publicly acknowledged

that responsive records exist.

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14. By letter dated December 6, 2017, NSA denied the appeal, concluding that both the
invocation of a Glomm' response and FOIA Exemptions l and 3 were appropriate
CIA FOIA Requesl

15. By letter dated May 16, 2017, delivered by facsimile, CREW requested from the C[A
under the FOIA the following:

a) Records documenting and.-"or confirming a call or calls between Thomas P.
Bossert, assistant to the president for homeland security and counterterrorism, and
CIA Director Mike Pompeo and.-"or any other CIA official concerning the meeting
President Donald Trump had with Russian Foreign Minister Sergei Lavrov and
Russian Ambassador Sergey Kislyak on May 10, 2017;

b) Documents relating to and reflecting the information President Trump shared
with Mr. Lavrov and Mr. Kislyak during their May 10, 2017 meeting, including,
but not limited to, common threats that both Russia and the United States face
from terrorist organizations; and

c) Transcripts or other recordings of President Trump’s May 10, 2017 meeting with
Mr. Lavrov and Mr. Kislyak.

16. CREW’s May 16, 2017 letter to the ClA also requested expedited processing of its
FOIA request in light of the urgency to restore the public’s faith and confidence in our national
security apparatus

17. By letter dated May 17, 2017, the C[A acknowledged receipt of CREW’s request and
granted CREW’s request for expedited processing of its FOIA request (Reference: F-2017-
01727). The letter stated that CREW had established a “compelling need" for the information as

set forth in 32 C.F.R. § 1900.34.

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18. Since the CIA’s letter dated May 17, 2017, granting expedited processing, CREW has
received no response or communication from the ClA regarding its FOIA request. The CIA has
not notified CREW in writing of unusual circumstances requiring a delay of its response
pursuant to 5 U.S.C. § 552(a)(6)(B).

Plaintiff’s (._`.`laims for Relief

Claim I
NSA’s Wrogful Withholding of Non-Exempt Records

19. Plaintiff repeats, realleges and incorporates by reference paragraphs 1-18 as ii,illy set
forth herein.

20. Defendant NSA wrongfully withheld all responsive documents by unlawfully
asserting a Glomm‘ response and by reli.ising to acknowledge the existence or non-existence of
the records requested.

21. Defendant NSA wrongfully withheld all responsive documents pursuant to FOlA
Exemptions l and 3, which do not apply to the requested records.

22. Plaintiff has a statutory right to the records it seeks, and there is no legal basis for the
defendant NSA’s refi.isal to disclose them.

23. Therefore, by failing to release the records specifically requested by the Plaintiff`,
defendant NSA violated the FOIA.

Claim ll
CIA’s Failure to Respond to FOIA chucst

24. Plaintiff repeats, realleges and incorporates by reference paragraphs 1-23 as though
fully set forth therein.
25. Plaintiff properly requested records within the custody and control of the CIA

pursuant to the FOIA.

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26. Defendant ClA received and acknowledged Plaintiff’s request for documents and
granted expedited processing
27. Despite agreeing to expedite CREW’s request, to date defendant CIA has failed to
conduct a search for responsive records, and to provide CREW With all responsive, non-exempt
documents, nor has it cited a legal basis for its failure to respond.
28. Plaintiff has a statutory right to the records it seeks, and there is no legal basis for the
defendant ClA’s refusal to disclose them.
29. Therefore, by failing to release the records specifically requested by the Plaintiff,
defendant CIA has violated the FOIA.
Reguested Relief
WHEREFORE, Plaintiff respectfully requests that this Court:
(l) Declare that the records sought by the Plaintiff are subject to the FOIA;
(2) Declare that the Plaintiff is entitled to immediate processing and disclosure of the
requested records;
(3) Declare that the failure of the Defendants to review and release records responsive to
Plaintiff’s request is unlawful;
(4) Order Defendants to hilly and expeditiously process Plaintiff’s May 16, 2017 FO[A
requests and disclose all responsive records immediately to Plaintiff;
(5) Retain jurisdiction of this action to ensure that no agency records are wrongfully
withheld;
(6) Award Plaintiff its costs and reasonable attomeys’ fees in this action pursuant to 5 U.S.C.
§ 552(a)(4)(E); and

(7) Grant such other relief as the Court may deem just and proper.

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Dated: March 14, 2018

Respectfully Submitted,

By:

 

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